     Case 2:10-cv-00106-LRH-VCF Document 888-1 Filed 10/09/15 Page 1 of 2




       You must now decide the amount, if any, that you should award plaintiffs Oracle

America, Inc. and Oracle International Corporation in punitive damages. The purposes of

punitive damages are to punish a wrongdoer for the conduct that harmed Oracle and to

discourage similar conduct in the future.

       There are no fixed standards for determining the amount of a punitive damage award; the

amount, if any, is left to your sound discretion, to be exercised without passion or prejudice and

in accordance with the following governing principles.

       The amount of a punitive damages award is not to compensate Oracle for harm suffered

but what is reasonably necessary (in light of the Defendants’ financial condition) and fairly

deserved (in light of the blameworthiness and harmfulness inherent in the Defendants’ conduct)

to punish and deter the Defendants and others from engaging in conduct such as that warranting

punitive damages in this case. Your award cannot be more than otherwise warranted by the

evidence in this case merely because of the wealth of the Defendants. Your award cannot either

punish the defendant for conduct injuring others who are not parties to this litigation or

financially annihilate or destroy the Defendants in light of the Defendants’ financial condition.

       In determining the amount(s) of your punitive damage award(s), you should consider the

following guideposts separately for each defendant:

       1)      The degree of reprehensibility of the Defendant's conduct, in light of (a) the

               culpability and blameworthiness of the Defendant's fraudulent, oppressive and/or

               malicious misconduct under the circumstances of this case; (b) whether the

               conduct injuring Oracle that warrants punitive damages in this case was part of a

               pattern of similar conduct by the defendant; and (c) any mitigating conduct by the

               Defendant, including any efforts to settle the dispute.

       2)      The ratio of your punitive damage award to the actual harm inflicted on Oracle by

               the conduct warranting punitive damages in this case, since the measure of

               punishment must be both reasonable and proportionate to the amount of harm to
Case 2:10-cv-00106-LRH-VCF Document 888-1 Filed 10/09/15 Page 2 of 2




       Plaintiffs Oracle and to the compensatory damages recovered by Plaintiffs Oracle

       in this case.

 3)    How your punitive damages award compares to other civil or criminal penalties

       that could be imposed for comparable misconduct, since punitive damages are to

       provide a means by which the community can express its outrage or distaste for

       the misconduct of a fraudulent, oppressive or malicious defendant and deter and

       warn others that such conduct will not be tolerated.




       INSTRUCTION NO. ___
